Case 1:04-cv-01184-.]DT-STA Document 24 Filed 05/25/05 Page 1 of 3 'Page|D 29

z/
IN THE UNlTED sTATEs DISTRICT coURT 05,5¢ " ' ~ _`
FoR THE WESTERN DISTRICT oF TENNESSEE _ }'?5
EASTERN I)IVISIoN v 419 3.
DARNICE Cox,
Plaincirf,
No.= 04-1184-T-An

VS.

MAYTAG JACKSON DISHWASHING
PRODUCTS,

\_/`_/\_/\_/\.V\.l\-/`./\_VV

Defendant.

 

ORDER GRANTING MOTION TO CONTINUE TRIAL
AND SETTING TELEPHONE CONFERENCE

 

Pursuant to an Order of Reference entered May 3, 2005, the Plaintiffs’ Motion to
Continue Trial and to Enter a New Scheduling Order has been referred to the Magistrate Judge
for determination

It appearing from the motion that the motion is well taken and the Motion to Continue
Trial and to Enter a New Scheduling Order is GRANTED.

As Such, the Court shall conduct a telephone conference on TUESDAY, JUNE 14, 2005
at 10:30 a.m. for the purpose of discussing modification of the Scheduling Order and setting a
new trial date. Counsel are directed to confer prior to the telephone conference regarding
proposed deadlines and a new trial date. Mr. Michael Weinman, counsel for Plaintiff, shall

initiate the conference call and shall contact the Court after all other counsel have been

Thls document entered on the docket sheet ln compliance
with nose ss and,-'or_rs (a) FRcP on 5

our

Case 1:04-cv-01184-.]DT-STA Document 24 Filed 05/25/05 Page 2 of 3 Page|D 30

c=g. W;ms @.)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: M`? Zi€ 260_(

contacted..

IT IS SO ORDERED.

DlsTRl T oURT -wEsTER D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 1:04-CV-01184 was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

Michael L. Weinman
WEINMAN & ASSOCIATES
114 S. Liberty St.

Jackson7 TN 3 8302

Christoper H. Steger
l\/l[LLER & MARTIN LLP
832 Georgia Ave.

Ste. 1000

Chattanooga, TN 37402--228

Honorable J ames Todd
US DISTRICT COURT

